              Case 1:19-cr-00696-PAE Document 313 Filed 04/13/22 Page 1 of 2

                                       Ari B. Teman

                                                                                   April 13, 2022
                                                                                  Nissan 12, 5782
The Honorable Paul A. Engelmayer
District Judge
Southern District of New York
40 Foley Square,
New York, NY

Re: Dkt 312; Motion for rapid reply regarding the Motion at Document 310 on or before
April 19, 2022.

Motion for Recusal.

Your Honor,

Defendant attaches the letter from counsel representing him in CA2 in response to Your
Honor’s order at Dkt. No 312.

Respectfully, it is no conspiracy that Your Honor and/or his immediate family holds millions of
dollars in Berkshire Hathaway and Bank of America and that Your Honor failed to disclose this
until over a year after trial, and it is no conspiracy that Your Honor and his close personal
friends Noam Biale and AUSA Graham failed to disclose their conflict for nearly half a year --
and that Biale and the Government admit this was intentional. These are not conspiracies and
they both have had material impacts on my case in terms of the financial costs, time under home
confinement, and destruction of my life. Defendant notes that Your Honor’s order is therefore
clearly prejudicial and biased and motions for Your Honor to recuse immediately for this and all
the previous reasons yet unanswered that Your Honor has been motioned to recuse.

Respectfully submitted,




Ari Teman
Defendant, Pro Se
Case 1:19-cr-00696-PAE Document 313 Filed 04/13/22 Page 2 of 2
